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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

  NORTHERN DISTRICT OF GEORGIA
                                        (State)
 Case number (If known):                                             Chapter you are filing under:

                           Check if this is an                       el Chapter 7
                                                                     • Chapter 11
                           amended filing
                                                                     • Chapter 12
                                                                     U Chapter 13




Official Form 101
                                                              7‘11
                                                               ‘ 5-8-5
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:     Identify Yourself

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
 1. Your full name
     Write the name that is on your
     government-issued picture
                                         MARGARET
                                        First name                                                   First name
     identification (for example,
     your driver's license or
     passport).                         Middle name                                                  Middle name

     Bring your picture                  CHICK
     identification to your meeting     Last name                                                    Last name
     with the trustee.
                                        Suffix (Sr., Jr., II, Ill)                                   Suffix (Sr., Jr., II, Ill)




 2. All other names you
    have used in the last 8             First name                                                   First name
    years
     Include your married or            Middle name                                                  Middle name
     maiden names.
                                        Last name                                                    Last name


                                        First name                                                   First name


                                        Middle name                                                  Middle name


                                        Last name                                                    Last name




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              MARGARET                              CHICK
Debtor 1                                                                                           Case number   it known)
              First Name   Middle Name              Last Name




 3. Only the last 4 digits of
                                         xxx      — xx —          0     1   6      1                     XXX      — XX —
    your Social Security
    number or federal                    OR                                                              OR
    Individual Taxpayer
    Identification number                9 xx - xx -                                                     9 xx - xx -
     (ITIN)
                                         About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


 4. Any business names
    and Employer                               I have not used any business names or EINs.               U I have not used any business names or EINs.
    Identification Numbers
    (EIN) you have used in
    the last 8 years                     Business name                                                   Business name

     Include trade names and
     doing business as names
                                         Business name                                                   Business name



                                         EIN                                                             EIN



                                         EIN                                                             EIN




 5. Where you live                                                                                       If Debtor 2 lives at a different address:


                                         2084 COLD SPRINGS TRAIL SOUTHWEST
                                         Number          Street                                          Number              Street




                                         MARIETTA                               GA      30064
                                         City                                   State   ZIP Code         City                                 State     ZIP Code

                                         COBB COUNTY
                                         County                                                          County


                                         If your mailing address is different from the one               If Debtor 2's mailing address is different from
                                         above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                     any notices to this mailing address.



                                         Number          Street                                          Number              Street



                                         P.O. Box                                                        P.O. Box



                                         City                                   State   ZIP Code         City                                  State    ZIP Code




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             MARGARET                             CHICK
Debtor 1                                                                                        Case number (if known)
             First Name   Middle Name            Last Name




 6. Why you are choosing                Check one:                                                      Check one:
    this district to file for
    bankruptcy                          O Over the last 180 days before filing this petition,           O Over the last 180 days before filing this petition,
                                          I have lived in this district longer than in any                I have lived in this district longer than in any
                                          other district.                                                 other district.

                                        O I have another reason. Explain.                               U I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)




 Part 2:    Tell the Court About Your Bankruptcy Case


 7. The chapter of the                  Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
    Bankruptcy Code you                 for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
    are choosing to file
                                        0 Chapter 7
    under
                                        O Chapter 11
                                        •   Chapter 12
                                        O Chapter 13


 8. How you will pay the fee            U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                          yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          with a pre-printed address.

                                        O I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        El I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                           By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                           less than 150% of the official poverty line that applies to your family size and you are unable to
                                           pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                           Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



 9. Have you filed for                  0 No
    bankruptcy within the
    last 8 years?                       0 Yes.    District                              When                         Case number
                                                                                                MM/ DD /YYYY

                                                  District                              When                         Case number
                                                                                                MM/ DD / YYYY

                                                  District                              When                         Case number
                                                                                                MM/ DD / YYYY




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             MARGARET                              CHICK
Debtor 1                                                                                               Case number (if known)
             First Name     Middle Name            Last Name




 io. Are any bankruptcy                   El No
     cases pending or being
     filed by a spouse who is             0 Yes.     Debtor                                                                     Relationship to you

     not filing this case with                       District                                   When                            Case number, if known
     you, or by a business                                                                             MM/DD /YYYY
     partner, or by an
     affiliate?
                                                     Debtor                                                                     Relationship to you

                                                     District                                   When                            Case number, if known
                                                                                                       MM / DD / YYYY




     Do you rent your                     0 No. Go to line 12.
     residence?                           El Yes. Has your landlord obtained an eviction judgment against you?

                                                            No. Go to line 12.
                                                     0 Yes. Fill out Initial Statement About an Eviction Judgment Against               You (Form 101A) and file it as
                                                            part of this bankruptcy petition.



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor


 12. Are you a sole proprietor            El No. Go to Part 4.
     of any full- or part-time
     business?                            CI Yes. Name and location of business
     A sole proprietorship is a
     business you operate as an
                                                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership, or
                                                   Number         Street
     LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.
                                                     City                                                         State            ZIP Code



                                                   Check the appropriate box to describe your business:
                                                   O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                   O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                   O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                   O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    O None of the above
                                          If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
 13. Are you filing under                 choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
     Chapter 11 of the                    are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
     Bankruptcy Code, and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
     are you a small business             if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     debtor or a debtor as
     defined by 11 U.S. C. §              El No. I am not filing under Chapter 11.
     1182(1)?
                                          0 No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     For a definition of small                     the Bankruptcy Code.
     business debtor, see
     11 U.S.C. § 101(51D).                0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                   Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          0 Yes.   I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.


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              MARGARET                             CHICK
Debtor 1                                                                                        Case number (it-known)
              First Name    Middle Name            Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               2 No
     property that poses or is
     alleged to pose a threat             0 Yes.    What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                    If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number        Street




                                                                             City                                        State   ZIP Code




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               MARGARET                             CHICK
Debtor 1                                                                                              Case number (al known)
               First Name     Middle Name          Last Name




 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                            About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
 15.   Tell the court whether
       you have received a
       briefing about credit                You must check one:                                                You must check one:
       counseling.
                                            el I received a briefing from an approved credit                   O I received a briefing from an approved credit
                                               counseling agency within the 180 days before I                    counseling agency within the 180 days before I
       The law requires that you               filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
       receive a briefing about credit         certificate of completion.                                        certificate of completion.
       counseling before you file for
                                               Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
       bankruptcy. You must
                                               plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
       truthfully check one of the
       following choices. If you            0 I received a briefing from an approved credit                    O I received a briefing from an approved credit
       cannot do so, you are not               counseling agency within the 180 days before I                    counseling agency within the 180 days before I
       eligible to file.                       filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                        certificate of completion.
       If you file anyway, the court           Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
       can dismiss your case, you              you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
       will lose whatever filing fee           plan, if any.                                                       plan, if any.
       you paid, and your creditors
       can begin collection activities         I certify that I asked for credit counseling                    O I certify that I asked for credit counseling
       again.                                  services from an approved agency, but was                         services from an approved agency, but was
                                               unable to obtain those services during the 7                      unable to obtain those services during the 7
                                               days after I made my request, and exigent                         days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                               of the requirement.                                               of the requirement.
                                               To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                               required you to file this case.                                     required you to file this case.
                                               Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                       You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                               may be dismissed.                                                   may be dismissed.
                                               Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                               days.                                                               days.

                                            0 I am not required to receive a briefing about                    O I am not required to receive a briefing about
                                               credit counseling because of:                                     credit counseling because of:

                                                0 Incapacity.     I have a mental illness or a mental               O Incapacity. I have a mental illness or a mental
                                                                  deficiency that makes me                                        deficiency that makes me
                                                                  incapable of realizing or making                                incapable of realizing or making
                                                                  rational decisions about finances.                              rational decisions about finances.
                                                   Disability.    My physical disability causes me                  O Disability.     My physical disability causes me
                                                                  to be unable to participate in a                                    to be unable to participate in a
                                                                  briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                  through the internet, even after I                                  through the internet, even after I
                                                                  reasonably tried to do so.                                          reasonably tried to do so.
                                                0 Active duty.    I am currently on active military                 O Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                  duty in a military combat zone.
                                               If you believe you are not required to receive a                     If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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             MARGARET                            CHICK
Debtor 1                                                                                          Case number (if known)
             First Name   Middle Name           Last Name




  Part 6:   Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
 16. What kind of debts do                   as "incurred by an individual primarily for a personal, family, or household purpose."
     you have?
                                             O No. Go to line 16b.
                                             O Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                             O No. Go to line 16c.
                                             O Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



 17. Are you filing under
     Chapter 7?                             No. I am not filing under Chapter 7. Go to line 18.

     Do you estimate that after             Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
     any exempt property is                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
     excluded and                                kr No
     administrative expenses
     are paid that funds will be                     Yes
     available for distribution
     to unsecured creditors?

 18. How many creditors do              0 1-49                                 0 1,000-5,000                               0 25,001-50,000
     you estimate that you              LI 50-99                               0 5,001-10,000                              0 50,001-100,000
     owe?                               0 100-199                              0 10,001-25,000                             0 More than 100,000
                                        0 200-999
 19. How much do you                        $0-$50,000                             $1,000,001-$10 million                  0 $500,000,001-$1 billion
     estimate your assets to                $50,001-$100,000 ,                     $10,000,001-$50 million                     $1,000,000,001-$10 billion
     be worth?                              $100,001-$500,000\                 0   $50,000,001-$100 million                0 $10,000,000,001-$50 billion
                                            $500,001-$1 million \                  $100,000,001-$500 million               0 More than $50 billion
 20. How much do you                        $0-$50,000                             $1,000,001-$10 million                  0 $500,000,001-$1 billion
     estimate your liabilities              $50,001-$100,000                   0 $10,000,001-$50 million                       $1,000,000,001-$10 billion
     to be?                                 $100,001-$500,000                      $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                        0   $500,001-$1 million                0   $100,000,001-$500 million               0   More than $50 billion
  Part 7:   Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
  For you                               correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, j.41, 1519, and 3571.



                                            Signature eiDebtf 1                                              Signature of Debtor 2

                                            Executed on     00;2-           7s93,10                          Executed on
                                                            Nuvi    DD                                                     MM / DD    /YYYY


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            MARGARET                              CHICK                                         Case number (if known)
Debtor 1
            First Name   Middle Name              Last Name




                                       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
  For your attorney, if you are        to proceed under Chapter 7, 11, 12, 01 13 of title 11, United States Code, and have explained the relief
  represented by one                   available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                       the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
  If you are not represented           knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
  by an attorney, you do not
  need to file this page.
                                                                                                           Date
                                           Signature of Attorney for Debtor                                                MM   /     DD / YYYY




                                          Printed name



                                           Firm name



                                           Number       Street




                                           City                                                            State           ZIP Code




                                           Contact phone                                                   Email address




                                           Bar number                                                      State




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            MARGARET                          CHICK
Debtor 1                                                                                 Case number (if known)
            First Name   Middle Name          Last Name




 For you if you are filing this        The law allows you, as an individual, to represent yourself in bankruptcy court, but you
 bankruptcy without an                 should understand that many people find it extremely difficult to represent
 attorney                              themselves successfully. Because bankruptcy has long-term financial and legal
                                       consequences, you are strongly urged to hire a qualified attorney.
 If you are represented by
 an attorney, you do not               To be successful, you must correctly file and handle your bankruptcy case. The rules are very
 need to file this page.               technical, and a mistake or inaction may affect your rights. For example, your case may be
                                       dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                       hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                       firm if your case is selected for audit. If that happens, you could lose your right to file another
                                       case, or you may lose protections, including the benefit of the automatic stay.
                                       You must list all your property and debts in the schedules that you are required to file with the
                                       court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                       in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                       property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                       also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                       case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                       cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                       If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                       hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                       successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                       Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                       be familiar with any state exemption laws that apply.

                                       Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                       consequences?
                                       1:1 No
                                       O Yes

                                       Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                       inaccurate or incomplete, you could be fined or imprisoned?
                                       ▪   No
                                       O Yes
                                       Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                       O No
                                       O Yes. Name of Person
                                              Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                       By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                       have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                       attorney may cause me to lose my rights or property if I do not properly handle the case.




                                                                                                     Signature of Debtor 2


                                       Date                       c),2 ?                             Date
                                                          MM/DD   /YY9                                               MM/     DD /YYYY

                                       Contact phone +16785241227                                    Contact phone


                                       Cell phone                                                    Cell phone


                                       Email address      MARGARETCHICK@BELLSOUTH.NET                Email address




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   Fill in this information to identify your case:


   Debtor 1             MARGARET                                           CHICK
                        First Name               Middle Name               Lest Name

   Debtor 2
   (Spouse, if filing) First Name                Middle Name               Last Name


   United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

   Case number
    (If known)                                                                                                                        CI Check if this is an
                                                                                                                                         amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                   04/19

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        CI Married
        0   Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

       0    No
       0     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                          Dates Debtor 1     Debtor 2:                                           Dates Debtor 2
                                                                    lived there                                                            lived there


                                                                                       0 Same as Debtor 1                                 0   Same as Debtor 1

                  2281 AKERS MILL ROAD SOUTHE                       From   2018                                                               From
                 Number              Street                                               Number Street
                                                                    To     2021                                                               To
                  APT 4417

                  ATLANTA                     GA      30339
                 City                         State ZIP Code                              City                     State ZIP Code

                                                                                       0 Same as Debtor 1                                CI   Same as Debtor 1

                                                                    From                                                                      From
                 Number              Street                                               Number Street
                                                                    To                                                                        To




                 City                         State ZIP Code                              City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       0 . No
       CI   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1
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                MARGARET                             CHICK
Debtor 1                                                                                                               Case number (if known)
                First Name      Middle Name           Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     Ei No
           Yes. Fill in the details.

                                                              Debtor 'I                                                             Debtor 2

                                                              Sources of income                        Gross income                 Sources of income           Gross income
                                                              Check all that apply.                    (before deductions and       Check all that apply.       (before deductions and
                                                                                                       exclusions)                                              exclusions)

            From January 1 of current year until               O Wages, commissions,
                                                                                                                        0.00
                                                                                                                                    0 Wages, commissions,
                                                                 bonuses, tips                                                           bonuses, tips
            the date you filed for bankruptcy:
                                                               O Operating a business                                               CI   Operating a business


            For last calendar year:                            O Wages, commissions,                                                0 Wages, commissions,
                                                                 bonuses, tips                                          0.00             bonuses, tips
            (January 1 to December 31, 2021              ) 0          Operating a business                                          0    Operating a business
                                              YYYY


            For the calendar year before that:                 O Wages, commissions,                                                0 Wages, commissions,
                                                                 bonuses, tips                                                           bonuses, tips
                                                                                                                        0.00
            (January 1 to December 31 2020               )     0      Operating a business                                          0    Operating a business




 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     U No
     g     Yes. Fill in the details.
                                                               Debtor 1                                                         I    Debtor 2

                                                               Sources of income                       Gross income from             Sources of income          Gross income from
                                                               Describe below.                         each source                   Describe below.            each source
                                                                                                       (before deductions and                                   (before deductions and
                                                                                                       exclusions)                                              exclusions)



            From January 1 of current year until
                                                             SOCIAL SEM,/   DISABIUTI INSURANCE
                                                                                                   $            2,754.00                                        $
            the date you filed for bankruptcy:
                                                             SNAP                                  $               178.00                                       $
                                                                                                   $                                                            $

            For last calendar year:                          SNAP                                  $            1,005.00
                                                                                                                                                                $
            (January 1 to December 31, 2021 )
                                                             SOCIAL SECURRY DUMMY INSUFVWCE
                                                                                                   $           14,570.00                                        $
                                              YYYY
                                                                                                   $                                                            $



            For the calendar year before that:               SOCMI SECURITY INSABILltt INSURANCE
                                                                                                   $
                                                                                                               14,084.00                                        $
            (January 1 to December 31, 2020 )                SNAP                                  $               980.00                                       $
                                              YYYY
                                                                                                   $                                                            $




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               MARGARET                               CHICK
Debtor 1                                                                                           Case number (if known)
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     Ii    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               O No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     El Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               EI No. Go to line 7.
               O Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid          Amount you still owe   Was this payment for...
                                                                       payment


                                                                                                                                      O Mortgage
                      Creditor's Name
                                                                                                                                      CI Car
                      Number    Street                                                                                                0 Credit card
                                                                                                                                      O Loan repayment

                                                                                                                                      0 Suppliers or vendors
                      City                    State       ZIP Code                                                                    LI Other


                                                                                                                                      O Mortgage
                      Creditors Name
                                                                                                                                      0 Car
                      Number    Street                                                                                                D Credit card
                                                                                                                                          Loan repayment

                                                                                                                                      0   Suppliers or vendors

                      City                    State       ZIP Code
                                                                                                                                      0   Other




                                                                                                                                      0   Mortgage
                      Creditor's Name
                                                                                                                                      0   Car

                      Number    Street                                                                                                0   Credit card

                                                                                                                                      0   Loan repayment

                                                                                                                                      0   Suppliers or vendors

                      City                    State       ZIP Code
                                                                                                                                      0   Other




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                  MARGARET                              CHICK
Debtor 1                                                                                            Case number (if known)
                  First Name      Middle Name           Last Name




 7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

      Ei No
      U Yes. List all payments to an insider.
                                                                       Dates of      Total amount      Amount you still      Reason for this payment
                                                                       payment       paid              owe



           Insider's Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name


           Number        Street




           City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

      Ig No
      U Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount      Amount you still      Reason for this payment
                                                                      payment        paid              owe
                                                                                                                             Include creditor's name



           Insider's Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name



           Number        Street




           City                                 State   ZIP Code




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               MARGARET                                     CHICK
Debtor 1                                                                                                       Case number (if known)
               First Name            Middle Name            Last Name




  Part 4:     Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     Er No
     O Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                             Status of the case



           Case title                                                                                                                                O   Pending
                                                                                                        Court Name
                                                                                                                                                     O   On appeal

                                                                                                        Number     Street                            O   Concluded

           Case number
                                                                                                        City                    State   ZIP Code




           Case title                                                                                                                                O   Pending
                                                                                                        Court Name
                                                                                                                                                     O   On appeal

                                                                                                        Number     Street                            O   Concluded

           Case number
                                                                                                        City                    State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     Ef No. Go to line 11.
     O Yes. Fill in the information below.

                                                                              Describe the property                                      Date      Value of the property




                Creditor's Name



                Number      Street                                            Explain what happened

                                                                                   Property was repossessed.
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                City                               State   ZIP Code                Property was attached, seized, or levied.

                                                                              Describe the property                                      Date       Value of the propert)




                Creditor's Name



                Number      Street
                                                                              Explain what happened


                                                                               0   Property was repossessed.
                                                                                   Property was foreclosed.

                City                               State   ZIP Code
                                                                               0   Property was garnished.
                                                                                   Property was attached, seized, or levied.



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                   MARGARET                              CHICK
Debtor 1                                                                                                 Case number (if known)
                   Fest Name      Middle Name            Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     El No
     U Yes. Fill in the details.

                                                                 Describe the action the creditor took                            Date action       Amount
                                                                                                                                  was taken
           Creditors Name



           Number      Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

     El No
     U Yes


 Part 5:          List Certain Gifts and Contributions


 13. Within       2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     El No
     •     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                               Dates you gave      Value
            per person                                                                                                            the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave     Value
           per person                                                                                                             the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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                   MARGARET                                  CHICK
Debtor 1                                                                                                         Case number (if known)
                   First Name     Middle Name                Last Name




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

       O No
       •   Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                      Describe what you contributed                                        Date you           Value
            that total more than $600                                                                                                     contributed




           Charity's Name




           Number      Street




           City           State        ZIP Code




 Part 6:           List Certain Losses


 15.   Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
       disaster, or gambling?

       Ig No
       •   Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your       Value of property
            how the loss occurred                                                                                                         loss               lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.




                  List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       al No
       • Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or    Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made


            Number       Street




            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment, If Not You



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                   MARGARET                                  CHICK
Debtor 1                                                                                                       Case number (if known)
                   First Name      Middle Name               Last Name




                                                                     Description and value of any property transferred                  Date payment or      Amount of
                                                                                                                                        transfer was made    payment


            Person Who Was Paid



            Number       Street




            City                        State    ZIP Code




            Email or website address



            Person Who Made the Payment, If Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     Er No
           Yes. Fill in the details.

                                                                     Description and value of any property transferred                  Date payment or     Amount of payment
                                                                                                                                        transfer was
                                                                                                                                        made
            Person Who Was Paid



            Number        Street




            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     iff No
           Yes. Fill in the details.

                                                                     Description and value of property        Describe any property or payments received       Date transfer
                                                                     transferred                              or debts paid in exchange                        was made

            Person Who Received Transfer



            Number       Street




            City                       State     ZIP, Code


            Person's relationship to you


            Person Who Received Transfer



            Number       Street




            City                        State    ZIP Code

            Person's relationship to you

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                MARGARET                                CHICK
Debtor 1                                                                                                  Case number (if known)
                   First Name      Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     10 No
     O Yes. Fill in the details.

                                                                Description and value of the property transferred                                           Date transfer
                                                                                                                                                            was made


           Name of trust




  Part 8:     List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Er No
     O Yes. Fill in the details.
                                                                    Last 4 digits of account number   Type of account or           Date account was       Last balance before
                                                                                                      instrument                   closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred

            Name of Financial Institution
                                                                    xxxac-                            0 Checking
            Number        Street
                                                                                                      LI Savings
                                                                                                      0 Money market
                                                                                                      0 Brokerage
            City                        State    ZIP Code
                                                                                                      U Other

                                                                    XX)0C—                            LI Checking
            Name of Financial Institution
                                                                                                      0 Savings
            Number        Street                                                                      0 Money market
                                                                                                      U Brokerage
                                                                                                      0 Other
            City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     Ef No
     O Yes. Fill in the details.
                                                                    Who else had access to it?                   Describe the contents                           Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                 U No
            Name of Financial Institution                                                                                                                        U Yes
                                                                Name


            Number        Street                                Number       Street



                                                                City           State    ZIP Code

             City                        State   ZIP Code



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                     MARGARET                                CHICK
Debtor 1                                                                                                              Case number (if known)
                     First Name     Middle Name               Last Name



 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     U No
     •     Yes. Fill in the details.
                                                                     Who else has or had access to it?                      Describe the contents             Do you still
                                                                                                                                                              have it?
                                                                                                                           CLOTHES
             PUBLIC STORAGE                                                                                                                                   Li No
              Name of Storage Facility                               Name
                                                                                                                                                              El Yes
             1720 SOUTH COBB DRIVE
              Number       Street                                    Number    Street


                                                                     City State ZIP Code
             MARIETTA                     GA       30060
              City                        State    ZIP Code


 Part 9:               Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     El° No
         O Yes. Fill in the details.
                                                                     Where is the property?                                 Describe the property          Value



              Owner's Name


                                                                   Number     Street
              Number       Street




                                                                   City                          State     ZIP Code
              City                        State    ZIP Code


 Part 10:              Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
         hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
         including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 •       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
         utilize it or used to own, operate, or utilize it, including disposal sites.

 •       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
         substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

         El No
         O Yes. Fill in the details.
                                                                     Governmental unit                         Environmental law, if you know it       Date of notice




            Name of site                                            Governmental unit


            Number       Street                                    Number     Street


                                                                    City                State   ZIP Code



            City                         State    ZIP Code




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                MARGARET                                CHICK
Debtor 1                                                                                                            Case number (if known)
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     Er No
     U Yes. Fill in the details.
                                                                Governmental unit                              Environmental law, if you know it                     Date of notice




            Name of site                                      Governmental unit


            Number        Street                              Number    Street



                                                              City                  State    ZIP Code

            City                        State    ZIP Code


 26. Have   you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       No
     U Yes. Fill in the details.
                                                                                                                                                                      Status of the
                                                                 Court or agency                                    Nature of the case
                                                                                                                                                                      case

           Case title
                                                                                                                                                                      U    Pending
                                                                 Court Name
                                                                                                                                                                      U    On appeal

                                                                 Number    Street                                                                                     U    Concluded


           Case number
                                                                 City                       State   ZIP Code


 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within  4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     Er No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                 Describe the nature of the business                                Employer Identification number
                                                                                                                                    Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                    EIN:
            Number        Street
                                                                 Name of accountant or bookkeeper                                   Dates business existed


                                                                                                                                    From                To
            City                        State    ZIP Code
                                                                 Describe the nature of the business                                Employer Identification number
                                                                                                                                    Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                    EIN:
            Number        Street
                                                                 Name of accountant or bookkeeper                                   Dates business existed



                                                                                                                                    From               To
            City                        State    ZIP Code

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               MARGARET                             CHICK                                                Case number (irknown)
Debtor 1
               First Name      Middle Name           Last Name



                                                                                                                         Employer Identification number
                                                             Describe the nature of the business
                                                                                                                         Do not include Social Security number or ITIN.
            Business Name
                                                                                                                         EIN:

            Number    Street                                                                                             Dates business existed
                                                             Name of accountant or bookkeeper



                                                                                                                         From                To
            City                    State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     El No
           Yes. Fill in the details below.

                                                                 Date issued




            Name                                                 MM !DD / YYYY


            Number    Street




            City                     State   ZIP Code




                   Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                                 Signature of Debtor 2


                                                                                 Date

       Did you attach dditional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       El No
       U     Yes



       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       lid No
       U     Yes. Name of person                                                                                . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                  Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1          MARGARET                                                 CHICK
                     First Name                  Middle Name               Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name               Last Name

                                              NORTHERN DISTRICT OF GEORGIA
United States Bankruptcy Court for the:

Case number
                                                                                                                                             CI Check if this is an
                                                                                                                                                 amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    El No. Go to Part 2.
    El Yes. Where is the property?
                                                                     What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     O Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                     •    Duplex or multi-unit building
              Street address, if available, or other description
                                                                     1:1 Condominium or cooperative                    Current value of the     Current value of the
                                                                     O Manufactured or mobile home                     entire property?         portion you own?
                                                                     Li Land
                                                                     ▪    Investment property
                                                                     U Timeshare                                       Describe the nature of your ownership
              City                            State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     LI Other                                          the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     0 Debtor 1 only
              County                                                 0 Debtor 2 only
                                                                     D Debtor 1 and Debtor 2 only                      1:1 Check if this is community property
                                                                                                                           (see instructions)
                                                                     0 At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    O Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
      1.2.
              Street address, if available, or other description
                                                                    0    Duplex or multi-unit building
                                                                    O    Condominium or cooperative                    Current value of the     Current value of the
                                                                    O Manufactured or mobile home                      entire property?         portion you own?
                                                                    O Land
                                                                    O Investment property
                                                                                                                       Describe the nature of your ownership
                                                                    O Timeshare
              City                            State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                    LI Other                                           the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    0 Debtor 1 only
              County                                                0 Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                           Check if this is community property
                                                                    0 At least one of the debtors and another              (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


 Official Form 106A/B                                                Schedule NB: Property                                                               page 1
                     Case 22-51585-lrc
                  MARGARET                                Doc 1
                                                         CHICK            Filed 02/28/22 Entered 02/28/22 12:36:23                           Desc
Debtor 1                                                                                     Case number (if known)
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                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    CI   Single-family home                           the amount of any secured claims on Schedule D:
    1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       O    Duplex or multi-unit building
                                                                    O Condominium or cooperative                      Current value of the     Current value of the
                                                                                                                      entire property?         portion you own?
                                                                    D    Manufactured or mobile home
                                                                    O    Land
                                                                    O    Investment property
           City                             State    ZIP Code       0    Timeshare
                                                                                                                      Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                    O    Other                                        the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                         Debtor 1 only
           County
                                                                         Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                        (see instructions)
                                                                         At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                               0.00
  you have attached for Part 1. Write that number here.                                                                                  4




Part 2:       Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   El   No
        Yes

           Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                      the amount of any secured claims on Schedule D:
                                                                         Debtor 1 only
           Model:                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                         Debtor 2 only
             Year:                                                                                                    Current value of the      Current value of the
                                                                         Debtor 1 and Debtor 2 only
                                                                                                                      entire property?          portion you own?
             Approximate mileage:                                   0 At least one of the debtors and another
             Other information:
                                                                    0 Check if this is community property (see
                                                                         instructions)



   If you own or have more than one, describe here:

    3.2.   Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                                   0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                                    0 Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                    0 Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Approximate mileage:                                     0 At least one of the debtors and another
           Other information:
                                                                         Check if this is community property (see
                                                                         instructions)




 Official Form 106A/B                                                Schedule NB: Property                                                              page 2
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           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                                Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              LI Debtor 1 and Debtor 2 only                     entire property?          portion you own?
           Approximate mileage:                               CI At least one of the debtors and another
           Other information:
                                                              LI Check if this is community property (see
                                                                 instructions)


           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                                Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                 entire property?          portion you own?
                                                              0 At least one of the debtors and another
           Other information:
                                                              0 Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   id No
   D Yes

           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             D Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:
                                                              D Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
           Other information:                                 LI At least one of the debtors and another        entire property?          portion you own?


                                                              D Check if this is community property (see
                                                                 instructions)



   If you own or have more than one, list here:

           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Other information:                                 D At least one of the debtors and another

                                                                 Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                        0.00
   you have attached for Part 2. Write that number here                                                                            4




 Official Form 106A/B                                          Schedule A/B: Property                                                             page 3
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                                                                                                                                Desc
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Part 3:    Describe Your Personal and Household Items

                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                             portion you own?
                                                                                                                              Do not deduct secured claims
                                                                                                                              or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   El No
   U Yes. Describe                                                                                                                                   0.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   Li No
   0 Yes. Describe           COMPUTER, TV, CELLPHONE                                                                                             550.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   0 No
   CI Yes. Describe                                                                                                                                  0.00

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   id No
   0 Yes. Describe                                                                                                                                   0.00

10.Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   id No
   0 Yes. Describe                                                                                                                                   0.00

11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   U No
   id Yes. Describe           CLOTHES                                                                                                            200.00


12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   10 No
   0 Yes. Describe                                                                                                                                   0.00

13.Non-farm animals
   Examples: Dogs, cats, birds, horses

   id No
   0 Yes. Describe                                                                                                                                   0.00

14.Any other personal and household items you did not already list, including any health aids you did not list

   0   No
   0   Yes. Give specific                                                                                                                            0.00
       information.

15.Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                    750.00
   for Part 3. Write that number here                                                                                     4


 Official Form 106A/B                                        Schedule A/B: Property                                                         page 4
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Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   O No
   id Yes                                                                                                    Cash:                                  120.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.

   O No
   id Yes                                                     Institution name:


                             17.1. Checking account:          WELLS FARGO,                                                                           150.00
                             17.2. Checking account:

                             17.3. Savings account:            WELLS FARGO,                                                                            50.00
                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   10 No
   O Yes                     Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   El No                     Name of entity:                                                                 % of ownership:
    0 Yes. Give specific
       information about
       them




 Official Form 106A/B                                         Schedule AIB: Property                                                              page 5
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El   No
   LI Yes. Give specific      Issuer name:
      information about
      them




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   El   No
        Yes. List each
        account separately.   Type of account:          Institution name:

                              401(k) or similar plan:

                              Pension plan:

                              IRA:

                              Retirement account:

                              Keogh:

                              Additional account:

                              Additional account:



22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

        No

   LI Yes                                           Institution name or individual:

                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                              Rented furniture:

                              Other:



23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   El No

        Yes                    Issuer name and description:




 Official Form 106A/8                                            Schedule NB: Property                                                  page 6
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                                                                                                          12:36:23                         Desc
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

        No
   O Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   gi No
   O Yes. Give specific
     information about them....                                                                                                                             0.00

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

   El   No
   O Yes. Give specific
     information about them....                                                                                                                             0.00

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

        No
   O Yes. Give specific
     information about them....                                                                                                                             0.00


Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
        No
   D    Yes. Give specific information                                                                              Federal:
             about them, including whether
             you already filed the returns                                                                          State:
             and the tax years.
                                                                                                                    Local:



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   RI No
   O Yes. Give specific information
                                                                                                                 Alimony:
                                                                                                                 Maintenance:
                                                                                                                 Support:
                                                                                                                 Divorce settlement:
                                                                                                                 Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   RI No
    O Yes. Give specific information
                                                                                                                                                              0.00


 Official Form 106A/B                                         Schedule A113: Property                                                                page 7
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31. Interests In insurance policies
    Examples: Health, disability, or life insurance;health savings account (HSA);credit, homeowner's, or renter's insurance
   id No
   •       Yes. Name the insurance company            Company name:                                        Beneficiary:                              Surrender or refund value:
                of each policy and list its value....




32.Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   ki No
   U Yes. Give specific information
                                                                                                                                                                          0.00

33.Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   •       No
   U Yes. Describe each claim.
                                                                                                                                                                          0.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   ki No
   U Yes. Describe each claim.
                                                                                                                                                                          0.00


35. Any financial assets you did not already list

   id No
   U Yes. Give specific information                                                                                                                                       0.00

36.Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here                                                                                                     4                           320.00



Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
   id No. Go to Part 6.
   •       Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned
    U No
    U Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    U No
       •   Yes. Describe




 Official Form 106A/B                                            Schedule NB: Property                                                                           page 8
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40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   Li No
   1:3 Yes. Describe



41.Inventory
   U No
   •       Yes. Describe



42. Interests in partnerships or joint ventures
   El      No
   O Yes. Describe             Name of entity:                                                                  % of ownership:




43. Customer lists, mailing lists, or other compilations
   O No
   ▪       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                O No
                O Yes. Describe.



44. Any business-related property you did not already list
   O No
   U Yes. Give specific
     information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                              0
    for Part 5. Write that number here                                                                                       4


Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       •   No. Go to Part 7.
       O Yes. Go to line 47.

                                                                                                                                  Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured claims
                                                                                                                                  or exemptions.
47. Farm animals
       Examples: Livestock, poultry, farm-raised fish

       LI No
       O Yes




 Official Form 106A/B                                          Schedule A/B: Property                                                          page 9
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              MARGARET                         Doc
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48. Crops—either growing or harvested

   •    No
   •    Yes. Give specific
        information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   LI   No
   O Yes



50. Farm and fishing supplies, chemicals, and feed

   LI No
   O Yes



51.Any farm- and commercial fishing-related property you did not already list
   •    No
   O Yes. Give specific
     information.


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                 0.00
    for Part 6. Write that number here




Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets country club membership

   O No
                             PUBLIC STORAGE, STORAGE UNIT
   10 Yes. Give specific
      information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                      4                   0.00



Part 8:      List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                          4   $         0.00

56.Part 2: Total vehicles, line 5                                                       0.00

57.Part 3: Total personal and household items, line 15                                750.00

58.Part 4: Total financial assets, line 36                                            320.00

59.Part 5: Total business-related property, line 45                                       0

60.Part 6: Total farm- and fishing-related property, line 52                            0.00

61.Part 7: Total other property not listed, line 54                  4$                 0.00

62.Total personal property. Add lines 56 through 61.                            1,070.00       Copy personal property total   4   4$     1,070.00



63. Total of all property on Schedule NB. Add line 55 + line 62                                                                          1,070.00



 Official Form 106A/B                                      Schedule A/B: Property                                                        page 10
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                                                                        Petition Page 32 of 63
 Fill in this information to identify your case:

 Debtor 1           MARGARET                                                 CHICK
                     First Name                     Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                                                              Check if this is an
  (If known)
                                                                                                                                                          amended filing



Official Form 1060
Schedule C: The Property You Claim as Exempt                                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      lI You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      Li You are claiming federal exemptions.              11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on              Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property                      portion you own
                                                                  Copy the value from       Check only one box for each exemption.
                                                                  Schedule NB

      Brief                                                                                                                          Ga. Code Ann. § 44-13-100 (a)(4)
                                  ELECTRONICS, COMPUTER                            250.00       $          250.00
      description:
      Line from                                                                             U   100% of fair market value, up to
      Schedule A/B:               7                                                             any applicable statutory limit


      Brief                                                                                                                          Ga. Code Ann. § 44-13-100 (a)(4)
      description:
                                  ELECTRONICS, TV                                  200.00   El $           200.00

                                                                                            U 100% of fair market value, up to
      Line from               7
      Schedule NB:                                                                            any applicable statutory limit

      Brief                                                                                                                          Ga. Code Ann. § 44-13-100 (a)(4)
                                  ELECTRONICS, CELLPHONE          $                100.00   El $           100.00
      description:
      Line from                                                                             U   100% of fair market value, up to
      Schedule A/B'               7                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
      U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           CI No
           U       Yes



Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                                   page 1 of
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Debtor 1
             MARGARET                           CHICK          Petition Page 33 of Case
                                                                                   63 number (irlmown)
             First Name          Middle Name     Last Name




 Part 2:    Additional Page

      Brief description of the property and line         Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
      on Schedule NB that lists this property            portion you own
                                                         Copy the value from      Check only one box for each exemption
                                                         Schedule A/B

     Brief                                                                                                                Ga. Code Ann. § 44-13-100 (a)(4)
     description:
                          CLOTHES                                        200.00   Ef $           200.00

                                                                                     100% of fair market value, up to
     Line from            11
     Schedule NB:                                                                    any applicable statutory limit

     Brief                CASH                                                                                            Ga. Code Ann. § 44-13-100 (a)(6)
                                                                         120.00                  120.00
     description:                                                                    $

     Line from                                                                    El 100% of fair market value, up to
     Schedule A/B:
                          16                                                         any applicable statutory limit


     Brief                CHECKING ACCOUNT, WELLS FARGC $               150.00                   150.00                   Ga. Code Ann. § 44-13-100 (a)(6)
     description:                                                                 af $

     Line from                                                                    El 1 00% of fair market value, up to
                          17                                                         any applicable statutory limit
     Schedule A/B:

     Brief                                                                                                                Ga. Code Ann. § 44-13-100 (a)(6)
                          SAVINGS ACCOUNT, WELLS FARGO $                  50.00      $            50.00
     description:
     Line from            17                                                      El 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                    $

     Line from                                                                    El 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit


     Brief
     description:                                                                    $
     Line from                                                                    El 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:                                                                    $

     Line from                                                                    El 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                    $

     Line from                                                                    GI 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit


     Brief
     description:                                                                    $
     Line from                                                                       100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                    $

     Line from                                                                    El 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:                                                                     $
     Line from                                                                    CI 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit


     Brief
     description:                                                                  Us
     Line from                                                                    El 100% of fair market value, up to
     Schedule NB:                                                                     any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                   page 2
                          Case 22-51585-lrc                     Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                                  Desc
                                                                            Petition Page 34 of 63
 Fill in this information to identify your case:


 Debtor 1              MARGARET                                                 CHICK
                       First Name                 Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing)   First Name                 Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing


 Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


I. Do any creditors have claims secured by your property?
      kr No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      CI     Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                          Column A          Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                     Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                  that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditors name.           value of collateral.               claim                 If any

2.1
                                                           Describe the property that secures the claim:
      Creditor's Name

      Number             Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                           CI    Contingent
                                                           Li    Unliquidated
      City                          State   ZIP Code       CI    Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  O Debtor 1 only                                          U An agreement you made (such as mortgage or secured
  Li    Debtor 2 only                                        car loan)
  U Debtor 1 and Debtor 2 only                             Li    Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another                U Judgment lien from a lawsuit
                                                           CI    Other (including a right to offset)
  El Check if this claim relates to a
     community debt
  Date debt was incurred                                   Last 4 digits of account number               _
2.21
                                                           Describe the property that secures the claim:
      Creditor's Name


      Number             Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                           Li    Contingent
                                                           Cl    Unliquidated
      City                          State   ZIP Code       U Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  U Debtor 1 only                                          0     An agreement you made (such as mortgage or secured
  Li    Debtor 2 only                                            car loan)
  0     Debtor 1 and Debtor 2 only                         U Statutory lien (such as tax lien, mechanic's lien)
  L:1   At least one of the debtors and another            0     Judgment lien from a lawsuit
                                                           U Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was—incurred                     Last 4 digits of account number
                   --                                                              —
    Add the dollar value of your entries in Column A on this page. Write that number here:                                           0.00

 Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1
                           Case 22-51585-lrc                    Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23                                         Desc
   Fill in this information to identify your case:                      Petition Page 35 of 63
   Debtor 1            MARGARET                                             CHICK
                        First Name                Middle Name                Last Name

   Debtor 2
   (Spouse, if filing) First Name                 Middle Name                Last Name


   United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
                                                                                                                                                      U   Check if this is an
   Case number
       (If known)                                                                                                                                         amended filing



 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12115

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

  Part 1:           List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
         if No. Go to Part 2.
              Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim   Priority       Nonpriority
                                                                                                                                                     amount         amount
2.1
                                                                    Last 4 digits of account number
           Priority Creditor's Name

                                                                    When was the debt incurred?
           Number          Street

                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    rj Contingent
           City                           State    ZIP Code
                                                                    LI• Unliquidated
           Who incurred the debt? Check one.
                                                                    U Disputed
           1:3 Debtor 1 only
           1-.3 Debtor 2 only                                       Type of PRIORITY unsecured claim:
           1p Debtor 1 and Debtor 2 only                            LI Domestic support obligations
           C3 At least one of the debtors and another
                                                                    LI• Taxes and certain other debts you owe the government
           C3 Check if this claim is for a community debt           L.1• Claims for death or personal injury while you were
           Is the claim subject to offset?                               intoxicated
           LI No                                                    C3 Other. Specify
           U Yes                                                         ------                •_
12.2
                                                                    Last 4 digits of account number                                $
           Priority Creditor's Name
                                                                    When was the debt incurred?
           Number          Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    LI Contingent
           City                           State    ZIP Code         LI Unliquidated
           Who incurred the debt? Check one.                        1:1 Disputed
           1:3 Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
           ip Debtor 2 only
                                                                    LI Domestic support obligations
           U Debtor 1 and Debtor 2 only
                                                                    LI Taxes and certain other debts you owe the government
           Li At least one of the debtors and another
                                                                    U Claims for death or personal injury while you were
           C3 Check if this claim is for a community debt             intoxicated
           Is the claim subject to offset?                          U Other. Specify
           LI No
           LI Yes

  nr-r,,-ial Form 106E/F                                   Schedule OF: Creditors Who Have Unsecured Claims                                                     page 1
 Debtor 1                Case 22-51585-lrc
                     MARGARET                                  Doc 1
                                                            CHICK            Filed 02/28/22 Entered    02/28/22
                                                                                                Case number (if known) 12:36:23                        Desc
                     First Name      Middle Name            Last Name
                                                                            Petition Page 36 of 63
 Part 2:         List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      if Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1    AVANT                                                                           Last 4 digits of account number 9559
       Nonpnority Creditor's Name                                                                                                                             $      7,000.00
       222 NORTH LASALLE STREET
                                                                                       When was the debt incurred?          12/24/19
       Number              Street
       CHICAGO                                         IL                60601
       City                                            State            ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                       CIContingent
       Who incurred the debt? Check one.                                               • Unliquidated
       O Debtor 1 only                                                                 O Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
       CI At least one of the debtors and another                                      U Student loans
       •       Check if this claim is for a community debt                             1:3 Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                                 LI Debts to pension or profit-sharing plans, and other similar debts
       O No                                                                            Ikr Other. Specify    COLLECTIONS
       • Yes
                                                   _
4.2    cAP1MMT                                                                         Last 4 digits of account number       9296                                    - 561.00 !
       Nonpnority Creditor's Name                                                      When was the debt incurred?          1724/T9 -
       PO BOX 31293
       Number              Street
       SALT LAKE CITY                                  UT                84131         As of the date you file, the claim is: Check all that apply.
       City                                            State            ZIP Code
                                                                                       Ei Contingent
       Who incurred the debt? Check one.                                               LI Unliquidated
                                                                                       O Disputed
       O Debtor 1 only
       O Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only
        O At least one of the debtors and another                                      U Student loans
                                                                                       LIObligations arising out of a separation agreement or divorce
       •       Check if this claim is for a community debt                               that you did not report as priority claims
       Is the claim subject to offset?                                                 O Debts to pension or profit-sharing plans, and other similar debts
        O No                                                                           0 . Other. Specify    CREDIT CARD
        O Yes

4.3
           DEPT OF EDUcATION/NELN                                                      Last 4 digits of account number       _0063
       Nonpriority Creditor's Name                                                                                                                            $        602.00
           121 S 13TH ST
                                                                                       When was the debt incurred?           8/23/17
        Number             Street
           LINCOLN                                      NE               68508
                                                                                       As of the date you file, the claim is: Check all that apply.
        City                                           State            ZIP Code
                                                                                       0    Contingent
        Who incurred the debt? Check one.
                                                                                       •    Unliquidated
        O Debtor 1 only
                                                                                       Li   Disputed
        Li Debtor 2 only
        CI Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
        0 At least one of the debtors and another
                                                                                       Er Student loans
        Li Check if this claim is for a community debt                                 O Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
        Is the claim subject to offset?
                                                                                       Li Debts to pension or profit-sharing plans, and other similar debts
        Fad No
                                                                                       D    Other. Specify
           •   Yes



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
Debtor 1               Case 22-51585-lrc
                   MARGARET                               CHICKDoc 1       Filed 02/28/22 Entered    02/28/22
                                                                                              Case number (irknown) 12:36:23                             Desc
                   First Name       Middle Name           Last Name
                                                                          Petition Page 37 of 63
 Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page



 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                             Total claim


4.4
      DEPT OF EDUCATION/NELN                                                                                           9963
                                                                                       Last 4 digits of account number —  —                 _    —                  $   2,224.00
      Nonpriority Creditor's Name

      121 S 13TH ST
                                                                                       When was the debt incurred?                8/23/17
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      LINCOLN                                          NE              68506
      City                                             State          ZIP Code         CI       Contingent
                                                                                       •        Unliquidated
      Who incurred the debt? Check one.                                                CI       Disputed
             Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      I] Debtor 1 and Debtor 2 only                                                             Student loans
      Ci     At least one of the debtors and another                                   0        Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       CI       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  •        Other. Specify
      El No
      C3     Yes


4.5
      DISCOVER FIN SVcs LLC                                                            Last 4 digits of account number 4613                                         $ 858.00
      Nonpriority Creditor's Name

       PO BOX 15316
                                                                                       When was the debt incurred?                4/16/17
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       WILMINGTON                                       DE             19850
      City                                             State          ZIP Code                  Contingent
                                                                                       Li       Unliquidated
      Who Incurred the debt? Check one.                                                Li       Disputed
      O Debtor 1 only
      CI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
      CI Debtor 1 and Debtor 2 only                                                    CI       Student loans
      O At least one of the debtors and another                                        U Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
      C3     Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  ki Other. Specify         CREDIT CARD
      el No
      O Yes
      _                                                                          _
4.6                                                                                                                                                                 $ 935.0-6
       I.C. SYSTEM, INC                                                                Last 4 digits of account number 9452
      Nonpriority Creditor's Name

       PO BOX 64378
                                                                                       When was the debt incurred?                4/7/21
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       SAINT PAUL                                       MN              55164

      City                                             State          ZIP Code         Ca       Contingent
                                                                                       Li       Unliquidated
      Who incurred the debt? Check one,                                                0        Disputed
      O Debtor 1 only
       CI Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                        0    Student loans
      CI     At least one of the debtors and another                                       C3Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       0 • Check if this claim is for a community debt
                                                                                           U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      U    Other. Specify   COLLECTION
      El No  •
       Li Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4
Debtor 1             Case 22-51585-lrc
                MARGARET                             CHICKDoc 1       Filed 02/28/22 Entered   02/28/22
                                                                                        Case number (if/mown) 12:36:23                           Desc
                First Name          Middle Name     Last Name        Petition Page 38 of 63
 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim


4.7
      MERRICK BANK CORP                                                           Last 4 digits of account number 4186                                   $   1,845.00
      Nonpriority Creditor's Name

      PO BOX 9201
                                                                                  When was the debt incurred?          1/13/19
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      OLD BETHPAGE                                NY             11804
      City                                        State         ZIP Code          13Contingent
                                                                                  • Unliquidated
      Who incurred the debt? Check one.                                           O Disputed
        Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                • Student loans
      U At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      LI Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             ia   Other. Specify   CREDIT CARD
      el No
      U Yes


4.8
      NET CREDIT                                                                  Last 4 digits of account number 2223                                   $   4,900.00
      Nonpriority Creditor's Name

       175 W JACKSON BLVD STE 1
                                                                                  When was the debt incurred?          12/29/20
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       CHICAGO                                     IL            60604
      City                                        State         ZIP Code          LI Contingent
                                                                                  Li Unliquidated
      Who incurred the debt? Check one.                                           U Disputed
      • Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                U Student loans
      U At least one of the debtors and another                                   GI Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      CI Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             CI Other. Specify     COLLECTION
      Ei No
      U Yes
                                          —
4.9                                                                                                                                                          ,812.01
       RESURGENT CAPITOL                                                          Last 4 digits of account number 7263
      Nonpriority Creditor's Name
       10497 GREENVILLE
                                                                                  When was the debt incurred?           9/3/20
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       GREENVILLE                                  SC             29605

      City                                        State         ZIP Code          CI Contingent
                                                                                  •  Unliquidated
      Who incurred the debt? Check one.                                           O Disputed
      id Debtor 1 only
      U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                0 Student loans
        At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       GI Check if this claim is for a community debt
                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             i4 Other. Specify     COLLECTION
      el No
      U Yes




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
Debtor 1
                           Case 22-51585-lrc CHICK
                      MARGARET                  Doc 1                          Filed 02/28/22 Entered    02/28/22
                                                                                                 Case number (if known)
                                                                                                                        12:36:23                          Desc
                      First Name       Middle Name           Last Name        Petition Page 39 of 63

Zil                Your NONPRIORITY Unsecured Claims — Continuation Page



 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                            Total claim


4.10
         RIDGEVIEW INSTITUTE                                                              Last 4 digits of account number        0161                              $ 4,599.00
         Nonpriority Creditor's Name
         4140 SOUTH COBB DRIVE SOUTHEAST
                                                                                          When was the debt incurred?            9/11/18
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         SMYRNA                                            GA              30080
         City                                             State          ZIP Code         U    Contingent
                                                                                          •    Unliquidated
         Who incurred the debt? Check one.                                                U Disputed
                Debtor 1 only
         CI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
         Ca Debtor 1 and Debtor 2 only                                                    1:11 Student loans
         U At least one of the debtors and another
                                                                                          C3   Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
         U Check if this claim is for a community debt
                                                                                          U Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                  ia   Other. Specify   MEDICAL
         El No
         •      Yes


4.11
             SYNCB/PPC                                                                    Last 4 digits of account number 1688                                     $ 1,301.00
         Nonprionty Creditor's Name
         PO BOX 530975
                                                                                          When was the debt incurred?            4/29/20
         Number      Street
                                                                                          As of the date you file, the claim is: Check all that apply.
             ORLANDO                                       FL             32896
         City                                             State          ZIP Code         U Contingent
                                                                                          •    Unliquidated
         Who incurred the debt? Check one.                                                CI   Disputed
         ia Debtor 1 only
         •      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         O Debtor 1 and Debtor 2 only
                                                                                          O    Student loans
         O At least one of the debtors and another
                                                                                          U Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
         U Check if this claim is for a community debt
                                                                                          U Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                  El Other. Specify     CREDIT CARD
         El No
         C3     Yes

4.12
                                                                                          Last 4 digits of account number        0854
                                                                                                                                                                   $ 376.0d
             SYNci3/PPMC
         Nonpriority Creditor's Name
         PO BOX 981416
                                                                                          When was the debt incurred?            8/16/20
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         EL PASO                                           TX             79998
         City                                             State          ZIP Code         U Contingent
                                                                                          •    Unliquidated
         Who incurred the debt? Check one.                                                O Disputed
         kl Debtor 1 only
         CI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
         O Debtor 1 and Debtor 2 only
                                                                                          O Student loans
         CI     At least one of the debtors and another
                                                                                          LI   Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
         U Check if this claim is for a community debt
                                                                                          O Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                       Other. Specify   CREDIT CARD
         EI No
         0      Yes




_... •                inAF/F                                                                                                                                  page 4
                                                                  Schedule E/F: Creditors Who Have Unsecured Claims
Debtor 1                    Case 22-51585-lrc
                       MARGARET                              CHICK
                                                                  Doc 1       Filed 02/28/22 Entered    02/28/22
                                                                                                 Case number (jjknown) 12:36:23                          Desc
                       First Name      Middle Name           Last Name
                                                                             Petition Page 40 of 63
 Part 2:           Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim


4.13
         TITLEMAX                                                                         Last 4 digits of account number       0161                             $ 1,020.00
         Nonpriority Creditor's Name

         1873 COBB PARKWAY SOUTHEAST
                                                                                          When was the debt incurred?          7/8/20
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         MARIETTA                                         GA              30060
         City                                             State          ZIP Code         U Contingent
                                                                                          • Unliquidated
         Who incurred the debt? Check one.                                                • Disputed
         O Debtor 1 only
         LI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
         0 Debtor 1 and Debtor 2 only                                                     U Student loans
         LI At least one of the debtors and another                                       U Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
         El Check if this claim is for a community debt
                                                                                          • Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                  U Other. Specify COLLECTION
         id No
         O Yes


4.14
         USAA SAVINGS BANK                                                                Last 4 digits of account number      3551                              $ 2,195.00
         Nonpdority Creditor's Name

             PO BOX 47504
                                                                                          When was the debt incurred?          11/20/19
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
             SAN ANTONIO                                   TX             78265
         City                                             State          ZIP Code         D  Contingent
                                                                                          •  Unliquidated
         Who incurred the debt? Check one.                                                IJ Disputed
         O Debtor 1 only
         LI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
         •      Debtor 1 and Debtor 2 only
                                                                                          LI Student loans
         D      At least one of the debtors and another
                                                                                          0  Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
         CI Check if this claim is for a community debt
                                                                                          U Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                  id Other. Specify CREDIT CARD
         el No
         O Yes

4.15 I                                                                                                                                                           $ 5,153.00
             WALTON COMMUNITIES 00 THE EXCHANGE                                           Last 4 digits of account number      6505
         Nonpnority Creditor's Name
             THE EXCHANGE SOUTHEAST
                                                                                          When    was the debt incurred?        8/1/21
         Number             Street
             ATLANTA                                       GA             30339
                                                                                          As of the date you file, the claim is: Check all that apply.

         City                                             State          ZIP Code         L:1   Contingent
                                                                                          LI    Unliquidated
         Who incurred the debt? Check one.                                                0     Disputed
         El Debtor 1 only
         D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
         D Debtor 1 and Debtor 2 only                                                     LI Student loans
         0      At least one of the debtors and another                                   D  Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
         LI Check if this claim is for a community debt
                                                                                          LI Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                     Other. Specify COLLECTION
         el No
         0 Yes



Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
                     MARGARET                          CHICK
Debtor 1                Case 22-51585-lrc
                     First Name
                              Middle Name
                                                        Doc 1
                                                      Last Name
                                                                      Filed 02/28/22 Entered   02/28/22
                                                                                         Case number (if known)
                                                                                                                12:36:23                          Desc
                                                                     Petition Page 41 of 63
 Part 2:          Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim


4.16
       WEST COBB SMILES                                                             Last 4 digits of account number         0161                              $ 175.00
       Nonpriority Creditor's Name
       1133 EAST-WEST CONNECTOR
                                                                                    When was the debt incurred?             11/18/21
       Number      Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       AUSTELL                                       GA             30106
       City                                         State         ZIP Code          •       Contingent
                                                                                    •       Unliquidated
       Who incurred the debt? Check one.                                            U Disputed
       ia Debtor 1 only
       U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
       0       Debtor 1 and Debtor 2 only                                           •       Student loans
       U At least one of the debtors and another                                    Li Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                    L3 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              61 Other. Specify        MEDICAL
       El No
               Yes




                                                                                    Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                                    When was the debt incurred?

       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.

       City                                         State         ZIP Code          El Contingent
                                                                                    •       Unliquidated
       Who incurred the debt? Check one.                                            LI Disputed
       •       Debtor 1 only
       •       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 U Student loans
       El At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              O Other. Specify
       U No
       •       Yes



                                                                                    Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                                    When was the debt incurred?

       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.

       City                                         State         ZIP Code              O   Contingent
                                                                                        •   Unliquidated
       Who incurred the debt? Check one.                                            LI Disputed
       •       Debtor 1 only
       13 Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                     O   Student loans
       U At least one of the debtors and another                                        O Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  •   Other. Specify
           •   No
               Yes




Official Form 106E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                            page 4
               MARGARET                          CHICK
Debtor 1          Case 22-51585-lrc               Doc 1                           Case number
                                                               Filed 02/28/22 Entered    02/28/22 12:36:23
                                                                                                     (if known)
                                                                                                                            Desc
               First Name
                        Middle Name              Last Name
                                                              Petition Page 42 of 63
Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                          0.00

                 6c.Claims for death or personal injury while you were
                    intoxicated                                                6c.                          0.00
                 6d.Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d. + s                      0.00


                 Be. Total. Add lines 6a through 6d.                           Be.
                                                                                                            0.00


                                                                                      Total claim

             6f. Student loans                                                 6f.                   2,826.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                        6g.     $                    0.00
                 6h.Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.    $                     0.00

                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                   61.   + $            37,810.00


                 6j.Total. Add lines 6f through 6i.                            6j.
                                                                                                    40,636.00




 Official Form 106E/F                                 Schedule EIF: Creditors Who Have Unsecured Claims                             page 14
                      Case 22-51585-lrc                Doc 1      Filed 02/28/22 Entered 02/28/22 12:36:23                             Desc
                                                                 Petition Page 43 of 63
 Fill in this information to identify your case:

 Debtor               MARGARET                                        CHICK
                      First Name               Middle Name            Last Name

 Debtor 2
 (Spouse If filing)   First Name               Middle Name            Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number
  (If known)                                                                                                                               Check if this is an
                                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
       0 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                             State what the contract or lease is for




       PUBLIC STORAGE                                                                  LEASE (STORAGE): STORAGE
       Name
        1780 SOUTH COBB DRIVE
       Number            Street
        MARIETTA                      GA             30060
       City                                State     ZIP Code




       Name

       Number             Street


       City                                State      ZIP Code

2.31

       Name

       Number             Street


       City                                State      ZIP Code

2.4

       Name

       Number             Street


       City                                State      ZIP Code



Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                            page 1
                     Case 22-51585-lrc                        Doc 1             Filed 02/28/22 Entered 02/28/22 12:36:23                              Desc
 Fill in this information to identify your case:                               Petition Page 44 of 63

 Debtor 1           MARGARET                                                       CHICK
                    First Name                       Middle Name                   Last Name

 Debtor 2
 (Spouse, If filing) First Name                      Middle Name                   Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
  (If known)
                                                                                                                                                        Check if this is an
                                                                                                                                                        amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       El No
       U Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       Ei No. Go to line 3.
       0 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          LI No
           U Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                 Number             Street



                 City                                              State                       ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

        Column /: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                    Check all schedules that apply:
 3.1
                                                                                                                     CI   Schedule D, line
         Name
                                                                                                                     LJ Schedule E/F, line
         Number            Street                                                                                    CI   Schedule G, line

         City                                                         State                     ZIP Code

 3.2
         Name
                                                                                                                     CI   Schedule D, line
                                                                                                                     Ca Schedule E/F, line
          Number           Street                                                                                    Li Schedule G, line

          City                                                         State                     ZIP Code

 3.3
          Name
                                                                                                                     ID   Schedule D, line
                                                                                                                     LI   Schedule E/F, line
          Number           Street                                                                                    El Schedule G, line

          City                                                         State                     ZIP Code


                                                                                                                                                               page 1
Official Form 106H                                                              Schedule H: Your Codebtors
                    Case 22-51585-lrc                 Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23                               Desc
                                                              Petition Page 45 of 63
 Fill in this information to identify your case:


 Debtor 1           MARGARET                                         CHICK
                    First Name                Middle Name            Last Name
                                                                 s


 Debtor 2
 (Spouse, if filing) First Name               Middle Name            Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number                                                                                         Check if this is:
  (If known)
                                                                                                     El An amended filing
                                                                                                           A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
Official Form 1061                                                                                         MM / DD/ YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


; 1. Fill in your employment
     information.                                                          Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional            Employment status           U Employed                                   0    Employed
    employers.                                                            Not employed                                    Not employed

    Include part-time, seasonal, or
    self-employed work.
                                            Occupation
    Occupation may include student
    or homemaker, if it applies.
                                            Employer's name


                                            Employer's address
                                                                        Number Street                              Number    Street




                                                                        City            State   ZIP Code           City                  State ZIP Code

                                            How long employed there?


  Part 2:          Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1        For Debtor 2 or
                                                                                                                    non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.
                                                                                                      0.00
  3. Estimate and list monthly overtime pay.                                             3. + $       0.00         + $

  4. Calculate gross income. Add line 2 + line 3.                                        4.     $     0.00


Official Form 1061                                               Schedule I: Your Income                                                       page 1
                    Case 22-51585-lrc                           Doc 1              Filed 02/28/22 Entered 02/28/22 12:36:23                                           Desc
                 MARGARET                                       CHICK             Petition Page 46 of 63
Debtor 1                                                                                                                      Case number (if known)
                  First Name         Middle Name               Last Name



                                                                                                                          For Debtor 1                 For Debtor 2 or
                                                                                                                                                       non-filinq spouse

     Copy line 4 here                                                                                       4    4.       $          0.00
 5. Indicate whether you have the payroll deductions below:

      5a. Tax, Medicare, and Social Security deductions                                                          5a.      $            0.00              $
      5b. Mandatory contributions for retirement plans                                                           5b.      $            0.00              $
      5c. Voluntary contributions for retirement plans                                                           5c.      $            0.00              $
      5d. Required repayments of retirement fund loans                                                           5d.      $             0.00             $
      5e. Insurance                                                                                              5e.      $             0.00             $
      5f. Domestic support obligations                                                                           5f.      $            0.00              $
      5g. Union dues                                                                                             5g.      $            0.00              $
      5h. Other deductions. Specify:                                                                             5h.    +$             0.00            + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e + 5f+ 5g + 5h. 6.                                        $           0.00               $
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      $           0.00               $
 8. List all other income regularly received:
      8a. Net income from rental property and from operating a business,                                          8a.     $          0.00
          profession, or farm
            Attach a statement for each property and business showing gross receipts, ordinary and
            necessary business expenses, and the total monthly net income.


      8b. Interest and dividends                                                                                          $          0.00
      Sc. Family support payments that you, a non-filing spouse, or a dependent                                           $          0.00
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce settlement, and
            property settlement.

       8d. Unemployment compensation                                                                                      $    0.00
       8e. Social Security                                                                                                $ 1,354.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance that you
            receive, such as food stamps or housing subsidies.
            Specify (Debtor 1):                    Specify (Debtor 2 or Non-Filing Spouse):

             SSD, SNAP
                                                                                                                          $          89.00
       8g. Pension or retirement income                                                                                   $          0.00
       8h. Other monthly income.
            Specify (Debtor 1):                    Specify (Debtor 2 or Non-Filing Spouse):


                                                                                                                                           0.00


 9    Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + 8h.                                                $ 1,443.00
10.Calculate monthly income. Add line 7 + line 9.                                                                              1,443.00                                       $ 1,443.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 11.State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends or
     relatives. Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                          ii. 4• $            0.00
 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       12.           1,443.00
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                                                             Combined
 13.Do you expect an increase or decrease within the year after you file this form?                                                                                          monthly income
        No.
     Li Yes. Explain:


Official Form 1061                                                                  Schedule I: Your Income                                                                       page 2
                        Case 22-51585-lrc             Doc 1      Filed 02/28/22 Entered 02/28/22 12:36:23                                 Desc
                                                                Petition Page 47 of 63
   Fill in this information to identify your case:

   Debtor 1          MARGARET                                         CHICK
                      First Name            Middle Name               Last Name                       Check if this is:
   Debtor 2
   (Spouse, if filing) First Name           Middle Name               Last Name
                                                                                                      U An amended filing
                                                                                                      rj A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA                                  expenses as of the following date:
   Case number                                                                                            MM / DD/ YYYY
   (If known)


 Official Form 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:           Describe Your Household

 I. Is this a joint case?

    El No. Go to line 2.
    CI Yes. Does Debtor 2 live in a separate household?

                   No
                GI Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                    No                                   Dependent's relationship to              Dependent's    Does dependent live
    Do not list Debtor 1 and               CI Yes. Fill out this information for   Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                 each dependent
                                                                                                                                           Cl   No
    Do not state the dependents'
    names,                                                                                                                                 LI   Yes
                                                                                                                                           •    No
                                                                                                                                           D    Yes
                                                                                                                                           CI   No
                                                                                                                                           CI   Yes
                                                                                                                                           •    No
                                                                                                                                           •    Yes
                                                                                                                                           CI   No
                                                                                                                                           C3   Yes

 6. Do your expenses include
                                             No
    expenses of people other than
    yourself and your dependents?          U Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                900.00
     any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a. Real estate taxes                                                                                           4a.     $
      4b. Property, homeowner's, or renter's insurance                                                                4b.     $                   0.00

      4c. Home maintenance, repair, and upkeep expenses                                                               4c.     $                   0.00
      4d. Homeowner's association or condominium dues                                                                 4d.     $

Official Form 106J                                            Schedule J: Your Expenses                                                           page 1
                  Case 22-51585-lrc              Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                                Desc
                                                             Petition Page 48 of 63
                 MARGARET                         CHICK
 Debtor 1                                                                                Case number (If known)
                 First Name     Middle Name      Last Name




                                                                                                                               Your expenses

                                                                                                                                                 0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                        6a.      $                    20.00
      6b. Water, sewer, garbage collection                                                                        6b.      $                     0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.      $                    70.00
      6d.   Other. Specify:                                                                                       6d.      $                     0.00
 7. Food and housekeeping supplies                                                                                7.                           170.00
 8. Childcare and children's education costs                                                                      8.                             0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.                           190.00
10. Personal care products and services                                                                           la       $                    40.00
11. Medical and dental expenses                                                                                   11.      $                   270 00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                               150.00
    Do not include car payments.                                                                                  12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.      $                   100.00

14. Charitable contributions and religious donations                                                              14.      $                     0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                              a                         0.00
      15b. Health insurance                                                                                       15b
                                                                                                                   5 .                           0.00
      15c. Vehicle insurance                                                                                                                     0.00
      15d. Other insurance. Specify:                                                                              15
                                                                                                                   5;11    :                     0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.
                                                                                                                                                 0.00

17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                             17a.

      17b. Car payments for Vehicle 2                                                                             17b.

      17c. Other. Specify:                                                                                        17c.                           0.00
      17d. Other. Specify:                                                                                        17d.                           0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.     $                     0.00

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                     19. $                         0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your Income.

      20a. Mortgages on other property                                                                            20a.                           0.00

      20b. Real estate taxes                                                                                      20b.                           0.00
      20c. Property, homeowner's, or renter's insurance                                                           20c.                           0.00
      20d. Maintenance, repair, and upkeep expenses                                                               20d.                           0.00
      20e. Homeowner's association or condominium dues                                                            20e.                           0.00


Official Form 106J                                           Schedule J: Your Expenses                                                           page 2
                     Case 22-51585-lrc            Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                           Desc
                                                              Petition Page 49 of 63
                 MARGARET                         CHICK
Debtor 1                                                                                      Case number (if known)
                 First Name      Middle Name      Last Name




21. Other. Specify: STORAGE, TIMESHARE EXPENSES, REPAYMENT STUDENT LOAN                                                21.   +$          100.00


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                22a.              2,110.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.              2,110.00


23.   Calculate your monthly net income.
                                                                                                                                     1,443.00
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

      23b.   Copy your monthly expenses from line 22c above.                                                       23b.       $      2,110.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                         -667.00
             The result is your monthly net income.                                                                23c.




24.   Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      El No.
      U Yes.     I    Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                     page 3
                       Case 22-51585-lrc                  Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23                          Desc
                                                                  Petition Page 50 of 63
Fill in this information to identify your case:

Debtor 1         MARGARET                                              CHICK
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
Case number                                                                                                                              U Check if this is an
 (If known)                                                                                                                                amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  l• you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060), fill in the
       information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

          Creditor's                                                               O Surrender the property.                            No
          name:
                                                                                   0 Retain the property and redeem it.              0 Yes
          Description of
                                                                                   O Retain the property and enter into a
          property
          securing debt:                                                             Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


          Creditor's                                                               0 Surrender the property.                         0 No
          name:
                                                                                   0 Retain the property and redeem it.              0 Yes
          Description of
          property
                                                                                   0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               0 Surrender the property.                         0 No
          name:
                                                                                   0 Retain the property and redeem it.              0 Yes
          Description of
          property
                                                                                   0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               0 Surrender the property.                             No
          name:
                                                                                   0 Retain the property and redeem it.              0 Yes
           Description of
           property
                                                                                   0 Retain the property and enter into a
           securing debt:                                                             Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


   Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                  page 1
                  Case 22-51585-lrc                  Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                           Desc
                 MARGARET                           CHICK
                                                                 Petition Page 51 of 63
Debtor 1                                                                                        Case number   (If known)
                 First Name          Middle Name     Last Name




  Part 2:        List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                    Will the lease be assumed?

      Lessor's name: PUBLIC                STORAGE                                                                           No
                                                                                                                             Yes
      Description of leased          LEASE (STORAGE): STORAGE
      property:


      Lessor's name:                                                                                                       0 No
                                                                                                                           0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         No

      Description of leased                                                                                                0 Yes
      property:


      Lessor's name:                                                                                                         No
                                                                                                                           D Yes
      Description of leased
      property:


      Lessor's name:                                                                                                       0 No
                                                                                                                             Yes
      Description of leased
      property:


      Lessor's name:                                                                                                       El No
                                                                                                                           0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                       lj No
                                                                                                                           0 Yes
      Description of leased
      property:




  Part 3:         Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.




           gna         ebtor 1                                        Signature of Debtor 2


      Date                                                            Date
                 / DD         /   YY Y                                       MM/ DD /   YYYY




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                           page 2
                   Case 22-51585-lrc                 Doc 1     Filed 02/28/22 Entered 02/28/22 12:36:23                           Desc
                                                              Petition Page 52 of 63
 Fill in this information to identify your case:

 Debtor 1           MARGARET                                        CHICK
                    First Name                Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name           Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number                                                                                                                       Li Check if this is an
                     (If known)                                                                                                         amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                        0
   1a. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                              1,070.00

    1C. Copy line 63, Total of all property on Schedule A/B                                                                         $         1,070.00


Part 2:        Summarize Your Liabilities



                                                                                                                                 Your liabilities
                                                                                                                                 Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
                                                                                                                                                    0.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                    0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F                                        40,636.00
                                                                                                                                + $


                                                                                                       Your total liabilities       $       40,636.00


Part 3:         Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                              1,443.00
   Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                                     2,110.00




Official Form 106Sum                          Summary of Your Assets and Liabilities and Certain Statistical Information                            page 1
                    Case 22-51585-lrc                  Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                          Desc
                   MARGARET                             CHICK
                                                                   Petition Page 53 of 63
  Debtor 1                                                                                        Case number (if known)
                   First Name         Middle Name      Last Name




  Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      1:1 No.
      El Yes


  7. What kind of debt do you have?

             Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      lj Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   89.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                           Total claim


        From Part 4 on Schedule E/F, copy the following:


      9a. Domestic support obligations (Copy line 6a.)
                                                                                                                              0.00


      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                               0.00

      9c. Claims for death or personal injury While you were intoxicated. (Copy line 6c.)
                                                                                                                              0.00


      9d. Student loans. (Copy line 6f.)
                                                                                                                           2,826.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as                             0.00
          priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                     0.00


      9g. Total. Add lines 9a through 9f.                                                                                  2,826.00




Official Form 106Sum            Summary of Your Assets and Liabilities and Certain Statistical Information                                   page 2
                       Case 22-51585-lrc                     Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23                                       Desc
                                                                     Petition Page 54 of 63
Fill in this information to identify your case:

Debtor 1           MARGARET                                             CHICK
                   First Name                  Middle Name              Last Name

Debtor 2
(Spouse, if filing) First Name                 Middle Name              Last Name

                                            NORTHERN DISTRICT OF GEORGIA
United States Bankruptcy Court for the:

Case number
 (If known)
                                                                                                                                                      U Check if this is an
                                                                                                                                                        amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                               12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       ki No
       Li Yes. Name of person                                                                   . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                    Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




              gn ure 1jebtor 1                                              Signature of Debtor 2


         Date                                                               Date
                 Mm / DD         /   YYYY                                           MM/ DD /   YYYY




   Official Form 106Dec                                          Declaration About an Individual Debtor's Schedules
                    Case 22-51585-lrc                Doc 1      Filed 02/28/22 Entered 02/28/22 12:36:23 Desc
 Fill in this information to identify your case:               Petition Page 55 of 63 Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1          MARGARET                                           CHICK
                    First Name                Middle Name             Last Name
                                                                                                       •   1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name             Last Name                        O 2. The calculation to determine if a presumption of
                                           NORTHERN DISTRICT OF GEORGIA                                     abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:                                                                    Means Test Calculation (Official Form 122A-2).
                                                                                  (State)

 Case number                                                                                           O 3. The Means Test does not apply now because of
 (If known)                                                                                                 qualified military service but it could apply later.


                                                                                                       U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        el Not married. Fill out Column A, lines 2-11.
        ID Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
             0       Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              D      Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A          Column B
                                                                                                           Debtor 'I         Debtor 2 or
                                                                                                                             non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                     $     0.00
   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                               $     0.00
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                             $      0.00          $

    5. Net income from operating a business, profession,
                                                                      Debtor 1         Debtor 2
       or farm
       Gross receipts (before all deductions)                           $ 0.00              $
        Ordinary and necessary operating expenses              - $i1.110- $
                                                                                                  Copy
        Net monthly income from a business, profession, or farm $ 0.00 $                           here4        0.00           $
    6. Net income from rental and other real property                 Debtor 60         Drtor2
       Gross receipts (before all deductions)                          s
         Ordinary and necessary operating expenses                    — $11.110- $
                                                                                                  Copy
         Net monthly income from rental or other real property          $ 0.00   $                here4           000
   7. Interest, dividends, and royalties                                                                   $      0.00


 Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                   page 1
                  Case 22-51585-lrc              Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                                    Desc
                                                             Petition Page 56 of 63
                MARGARET                         CHICK
Debtor 1                                                                                        Case number (if known)
                First Name    Middle Name        Last Name



                                                                                                    Column A                 Column B
                                                                                                    Debtor 'I                Debtor 2 or
                                                                                                                             non-filing spouse
   8. Unemployment compensation                                                                       $       0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:             9
            For you                                                $      1,362.00
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                    $        0.00
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments made
       under the Federal law relating to the national emergency declared by the President
       under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
       coronavirus disease 2019 (COVID-19); payments received as a victim of a war crime, a
       crime against humanity, or international or domestic terrorism; or compensation,
       pension, pay, annuity, or allowance paid by the United States Government in connection
       with a disability, combat-related injury or disability, or death of a member of the
       uniformed services. If necessary, list other sources on a separate page and put the total
       below.
           SNAP                                                                                       $    89.00

           Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                              $    89.00 +                                  $      89.00
                                                                                                                                                     Total current
                                                                                                                                                     monthly income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                          Copy line '11 here+     $        89.09i
                Multiply by 12 (the number of months in a year).                                                                                 x 12
       12b. The result is your annual income for this part of the form.                                                                  12b.    $       1,068.00
   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                            13.     $ 53,105.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.

   14. How do the lines compare?

       14a. el Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b. U      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 1224-2.
                   Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                      page 2
              Case 22-51585-lrc                  Doc 1         Filed 02/28/22 Entered 02/28/22 12:36:23                              Desc
                                                              Petition Page 57 of 63
             MARGARET                            CHICK
Debtor 1                                                                                        Case number (if known)
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

             By signing her      I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                                                         --  L
                   Siatu.p of      btor                                                        Signature of Debtor 2


                  Date                                                                         Date
                          MM/ DD     / YYYY                                                           MM/ DD      / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                 page 3
  Case 22-51585-lrc         Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23   Desc
                                    Petition Page 58 of 63




                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE

                       NORTHERN DISTRICT OF GEORGIA


IN RE:                                      )
                                            )
                                            )     Case No.
MARGARET CHICK                              )
                  Debtor.                   )     Chapter 7


                                VERIFICATION OF MATRIX


The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge.


Date:    0-2/2$
                                                 e or Sig     ture
        Case 22-51585-lrc   Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23   Desc
                                    Petition Page 59 of 63


AVANT
222 NORTH LASALLE STREET
CHICAGO, IL 60601




CAP1/WMT
PO BOX 31293
SALT LAKE CITY, UT 84131




DEPT OF EDUCATION/NELN
121 S 13TH ST
LINCOLN, NE 68508




DISCOVER FIN SVCS LLC
PO BOX 15316
WILMINGTON, DE 19850




I.C. SYSTEM, INC
PO BOX 64378
SAINT PAUL, MN 55164




MERRICK BANK CORP
PO BOX 9201
OLD BETHPAGE, NY 11804
      Case 22-51585-lrc    Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23   Desc
                                   Petition Page 60 of 63


NET CREDIT
175 W JACKSON BLVD STE 1
CHICAGO, IL 60604




RESURGENT CAPITOL
10497 GREENVILLE
GREENVILLE, SC 29605




RIDGEVIEW INSTITUTE
4140 SOUTH COBB DRIVE SOUTHEAST
SMYRNA, GA 30080




SYNCB/PPC
PO BOX 530975
ORLANDO, FL 32896




SYNCB/PPMC
PO BOX 981416
EL PASO, TX 79998




TITLEMAX
1873 COBB PARKWAY SOUTHEAST
MARIETTA, GA 30060
      Case 22-51585-lrc   Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23   Desc
                                  Petition Page 61 of 63


USAA SAVINGS BANK
PO BOX 47504
SAN ANTONIO, TX 78265




WALTON COMMUNITIES C/O THE EXCHANGE
THE EXCHANGE SOUTHEAST
SUTE 120
ATLANTA, GA 30339




WEST COBB SMILES
1133 EAST-WEST CONNECTOR
STE 120
AUSTELL, GA 30106
  Case 22-51585-lrc     Doc 1    Filed 02/28/22 Entered 02/28/22 12:36:23   Desc
                                Petition Page 62 of 63

U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01267023 (OJ) OF 02/28/2022


ITEM     CODE   CASE            QUANTITY                      AMOUNT   BY

   1     7IN    22-51585              1                       $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - MARGARET CHICK


TOTAL:                                                        $ 0.00


FROM: Margaret Chick
      2084 Cold Springs Trail SouthWest
      Marietta, GA 30064




                                     Page 1 of 1
                  Case 22-51585-lrc               Doc 1        Filed 02/28/22 Entered 02/28/22 12:36:23                                 Desc
                                                              Petition Page 63 of 63
   Case Number: 22-51585                                     Name: Chick                                                     Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

1E1 Individual - Series 100 Forms                                                            O Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                         Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                         O Last 4 digits of SSN
 O Pro Se Affidavit (due within 7 days, signature must be notarized,                         O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                         El Type of Debtor
 D Signed Statement of SSN (due within 7 days)                                               Li Chapter
                                                                                             0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                      1=1 Statistical Estimates
   Li Statement of Financial Affairs                                                         O Venue
   O Schedules: A/B CD El F GHIJ 0 J-2 (different address for Debtor 2)                      Li Attorney Bar Number
   0 Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules                                                                  Case filed via:
   O Attorney Disclosure of Compensation                                                    Intake Counter by:
   Li Petition Preparer's Notice, Declaration and Signature (Form 119)                        0 Attorney
   1=1 Disclosure of Compensation of Petition Preparer (Form 2800)                            O Debtor - verified ID
   D Chapter 13 Current Monthly Income                                                        O Other - copy of ID: (678) 524-1227
   1=1 Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                   1=1 Mailed by:
   1=1 Certificate of Credit Counseling (Individuals only)                                    O Attorney
    Li Pay Advices (Individuals only) (2 Months)                                              O Debtor
    El Chapter 13 Plan, complete with signatures (local form)                                 O Other:
    Li Corporate Resolution (Business Ch. 7 & 11)
                                                                                         E Email [Pursuant to General Order 45-2021, this
   Ch.11 Business                                                                        petition was received for filing via email]
   E 20 Largest Unsecured Creditors
   Li List of Equity Security Holders                                                               History of Case Association
   O Small Business - Balance Sheet                                                      Prior cases within 2 years: None.
   Li Small Business - Statement of Operations
   O Small Business - Cash Flow Statement
                                                                                         Signature:
   E Small Business - Federal Tax Returns
                                                                                         Acknowledgment of eceipt of Deficiency Notice
   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   Li Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

 FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
 Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-pavments (not for chapter 13 plan payments)
         El Paid $_0.00 0 2g-Order Granting 0 3g-Order Granting 10-day iinitial payment of $                       due within 10 days)
          ▪   2d-Order Denying with filing fee of $               due within 10 days        IN IFP filed (Ch.7 Individuals Only)
          O    No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                                                                                                                                    to the address
                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only                below.
                               All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                     UNITED STATES BANKRUPTCY COURT
                                                       75 Ted Turner Drive, SW, Room 1340
                                                              Atlanta, Georgia 30303
                                                                  404-215-1000
  Intake Clerk:                      Date: 2/28/22                       Case Opener:                                      Date:
